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                                                                                 2022 Mar-23 PM 03:53
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION


     AMERICA’S FRONTLINE
     DOCTORS, et al.,

                  Plaintiffs,
                                                    CIVIL ACTION NO.
     v.                                             2:21-CV-702-CLM
                                                    UNOPPOSED
     UNITED STATES OF AMERICA, et
     al.,

                  Defendants.


     JOINT MOTION TO WITHDRAW PLAINTIFFS’ MOTION FOR
        PRELIMINARY INJUNCTION AND DISMISS PARTIES
      In the interest of streamlining this case, Plaintiffs withdraw their Motion for
Preliminary Injunction (ECF No. 37).

      Furthermore, pursuant to Federal Rule of Civil Procedure 41, Plaintiffs and

Defendants jointly move the Court to dismiss the following parties from this case:
Plaintiffs America’s Frontline Doctors, Inc.; Lyle Bloom; Ellen Millen; and Jody

Sobczak; and Defendants President Joseph R. Biden, Jr.; Dr. Anthony Fauci; Centers

for Disease Control and Prevention; National Institutes of Health; National Institute

of Allergy and Infectious Diseases; and Does I–X.
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Dated: March 23, 2022                Respectfully submitted,

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                                      Human Services; Dr. Anthony Fauci,
                                      Director of the National Institute of
                                      Allergy and Infectious Diseases; Dr.
                                      Janet Woodcock, Acting Commissioner
                                      of Food and Drugs; the U.S.
                                      Department of Health and Human
                                      Services; the Food and Drug
                                      Administration; the Centers for Disease
                                      Control and Prevention; the National
                                      Institutes of Health; and the National
                                      Institute of Allergy and Infectious
                                      Diseases

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                          CERTIFICATE OF SERVICE
      I hereby certify that on March 23, 2022, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to counsel of record.


                                            /s/_Isaac C. Belfer___ __
                                            ISAAC C. BELFER
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